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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 0:20cv60826


  ANTHONY EWELL,
      Plaintiff,


             v.                                       [JURY DEMAND]

  CITY OF FORT LAUDERDALE, a
  political subdivision of the State of Florida,
  PAUL ALEXANDER,
  sued in his individual capacity,
          Defendant.
                                            COMPLAINT
            Plaintiff, ANTHONY EWELL, by and through counsel, hereby files his complaint and
 alleges:
                                               PARTIES
            1.    Plaintiff ANTHONY EWELL is a resident of the State of Florida.
            2.    Defendant CITY OF FORT LAUDERDALE is a municipal entity organized
  pursuant to the laws of Florida.
            3.    Defendant PAUL ALEXANDER is an employee of the City of Fort Lauderdale.
  Alexander is sued in his individual capacity.
            4.    Defendants acted under color of statute, ordinance, regulation, custom, or usage,
  of Fort Lauderdale, Broward County and/or the State of Florida.
                                         JURISDICTION & VENUE
            5.    This action is for legal and equitable relief brought pursuant to 42 USC § 1983
  and 1988 regarding the violation of Plaintiff’s rights under the First, Fourth, and Fourteenth
  Amendments of the United States Constitution. Plaintiff’s closely related state law claims are
  within this Court’s jurisdiction pursuant to 28 USC § 1367.
            6.    Venue is proper because a substantial part of the events giving rise to Plaintiff’s
  claims occurred in the Southern District of Florida.




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            7.    All condition precedents have been satisfied including but not limited to those set
  out in Fla. Stat. § 768.28.
                                      STATEMENT OF FACTS
            8.    On or about October 26, 2018, Ewell met up with a longtime friend, a former
  Secret Service agent, at a local establishment called “Capones”.
            9.    Shortly after his friend left the venue, Ewell departed the establishment at around
  12:15 AM. As he was exiting, Ewell was struck in the head by a foreign object. An unknown
  City of Fort Lauderdale police officer was directly in front of Ewell when he was struck. Ewell
  asked the officer if he had seen what just transpired, the officer was unbothered by the assault
  and did not say anything.
            10.   Ewell then called 911 to report the assault and requested EMT for assistance.
            11.   After this call, Ewell then began to explain to the unknown officer that he was hit
  in the head while exiting Capones and he called 911 for assistance. He further explained to the
  unknown officer that the 911 operator told him to wait at the scene for paramedics to arrive.
            12.   During this entire incident, Ewell remained on the public sidewalk.
            13.   Approximately 20 minutes lapsed, Ewell seeing that the paramedics did not
  arrive, he called 911 again to gauge how much time he needed to wait for medical assistance.
            14.   After the second call, Ewell decided to take photos and videos to document the
  unknown officers’ lack of assistance.
            15.   Approximately 30 minutes after his second call, Ewell noticed Paul Alexander,
  City of Fort Lauderdale, inside of a squad car. Despite being on the scene for the entire incident,
  Alexander ignored the repeated dispatches that directed him to investigate Ewell’s assault.
            16.   The unknown officer then spoke to Alexander while he was in his patrol vehicle.
  After the discussion, Alexander and the unknown officer began to walk towards Ewell in a
  threatening manner.
            17.   After it became evident that none of the law enforcement officers were going to
  help him and that he would receive no medical assistance from paramedics, Ewell decided to
  leave the area and go home. After turning to leave, Ewell was suddenly tackled onto the
  concrete sidewalk by Alexander. The officers picked him up off the ground and placed him in
  custody.



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            18.   As a result of this gratuitous force, Ewell’s lips was busted, his front tooth was
  knocked halfway out of his gums, his ankle was in severe pain, and he was covered in blood.
  Alexander placed Ewell in custodial arrest and placed him into his patrol vehicle. While inside
  the police car, he observed the officers communicating with each other on how Alexander was
  going to fabricate probable cause to substantiate the false arrest.
            19.   Upon arriving to the police station, medical personnel forced the officers to take
  Ewell to the hospital after noticing the condition Ewell was in. After arriving to the hospital,
  Ewell was treated and given an X-ray of his ankle, which confirmed a fracture.
            20.   While waiting inside of his hospital room, Ewell asked Alexander why he had
  been treated in such a manner while he was waiting for the paramedics. Alexander told him that
  he had gotten the 911 calls, but he did not acknowledge or approach Ewell because Ewell
  looked fine from where he was sitting.
            21.   Alexander charged Ewell with disorderly conduct, resisting an officer without
  violence, and trespass. Ewell spent approximately one day in jail. Ewell was then released on a
  $100 bond.
            22.   On June 5, 2019, the criminal matter was tried in state court. At trial, Alexander
  testified and continued with his fabrication of probable cause. The jury acquitted Ewell of
  disorderly conduct and resisting an officer without violence charges and the state dismissed the
  trespass charge.
            23.   As a result of Alexander’s conduct, Ewell suffered damages. These damages
  included but not limited to emotional, physical, and financial injury. Ewell suffered humiliation
  and embarrassment as result of this incident. Additionally, Ewell incurred unnecessary legal
  costs as a result of the defense of the criminal matter.
            24.   Defendant acted under color of statute, ordinance, regulation, custom, or usage, of
  Broward and/or the State of Florida.
                         Claim 1: Unreasonable Seizure against Alexander
            25.   This action is brought pursuant to 42 USC §1983 in violation of Plaintiff’s right to
  be free of an unreasonable seizure as provided in the Fourth Amendment of the United States
  Constitution and applied to the states under the Fourteenth Amendment.
            26.   Ewell was subject to an unlawful stop and arrest by Defendant.



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            27.   Defendant did not have reasonable suspicion or probable cause to seize Ewell.
  Ewell was the victim of a battery and was waiting for medical assistance on a public sidewalk.
  He posed no threat to anyone including the officers on the scene. There was no evidence to
  suggests that Ewell committed a crime, was suspected of committing a crime, was in the
  process of committing a crime, or was going to commit a crime.
            28.   As a result of Defendant’s unlawful and intentional conduct, Ewell’s person was
  unreasonably seized. When Ewell saw he was not being assisted, he attempted to leave.
  Defendant tackled him to the ground, handcuff, subsequently confined him to a police car, and
  then imprisoned him.
            29.   Defendant acted under the color of law pursuant to the laws of Florida. Defendant
  was a municipally employed officer seizing Ewell pursuant to the laws of Florida.
                      Claim 2: Excessive Force in violation of 42 USC §1983
            30.   This action is brought pursuant to 42 USC § 1983 and in violation of Ewell’s right
  to be free of excessive force in the course of an arrest as prescribed by the Fourth Amendment
  of the United States Constitution and as applied to the states under the Fourteenth Amendment
  therein.
            31.   Pursuant to the Fourth Amendment, Ewell had the right to be free from excessive
  force during the course of a criminal apprehension. The force applied to Ewell was
  unreasonable under the circumstances. Ewell was the victim of a battery by a third party and
  was waiting for medical assistance on a public sidewalk. When Ewell saw he was not being
  assisted, he attempted to leave. Without provocation, Defendant applied a leg sweep and tackled
  Ewell to the ground. Ewell did not resist Defendant’s unlawful detention and did not physically
  resist the arrest. Ewell did not flee or attempt to flee. Ewell did not threaten anyone and did not
  pose a threat to anyone. Defendant observed Ewell’s non-resistance yet continued to use
  excessive force. The crimes he was charged for were minor.
            32.   Had Defendant not applied excessive force to Ewell when they clearly observed
  that he was not resisting, Ewell would not have endured injuries in violation of the Fourth
  Amendment.
            33.   Defendant acted under the color of law pursuant to the laws of Florida. Defendant
  was a municipally employed officer apprehending Ewell pursuant to the laws of Florida.



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                    Claim 3: Fabrication of Arrest Affidavit against Alexander
        34.       This action is brought pursuant to 42 USC §1983 in violation of Plaintiff’s right to
 be free of an unreasonable seizure of Plaintiff’s person as stated in the Fourth Amendment of the
 United States Constitution and as applied to the states under the Fourteenth Amendment.
        35.       Alexander falsified the arrest affidavit that gave rise to the unlawful seizure.
        36.       Defendant did not have probable cause to arrest Ewell and fabricated the arrest
 affidavit to substantiate Ewell’s arrest. In his arrest affidavit, Alexander stated that Ewell had
 been drunk on property, that he was unruly, was screaming profanity, was uncooperative with
 the investigation, and that Ewell trespassed on the property. This was false and there was nothing
 to corroborate this false statement. Ewell was peacefully waiting for medical assistance on a
 public sidewalk and the officers on scene refused to provide assistance. Alexander did not
 engage in any investigation, even though he was repeatedly informed of the incident via
 dispatch. Ewell did not trespass. As Ewell walked away, Alexander attacked him without
 provocation.
        37.       As a result of Defendant’s unlawful and intentional conduct, Defendant’s
 fabrication of probable cause led to his detention and subsequent imprisonment.
        38.       Defendant acted under the color of law pursuant to the laws of Florida. Defendant
 was a municipally employed officer arresting Ewell pursuant to the laws of Florida.
            Claim 4: False Imprisonment/False Arrest against Alexander (State Claim)
            39.   This action is brought pursuant to laws of Florida and alleges that Alexander
  falsely arrested and imprisoned Ewell. Ewell was subject to an unlawful detention and
  deprivation of liberty against his will. Ewell was detained for approximately one day in
  Broward County jail against his will.
            40.   The detention was unreasonable and not warranted by the circumstances. Based
  on the objective evidence known to Defendant at the time of Ewell’s arrest, Defendant knew
  there was no probable cause to arrest Ewell for any offense under Florida law, because:
              a. Defendant knew Ewell was a law-abiding patron at Capones.
              b. Defendant knew Ewell remained on a public sidewalk while waiting for
                  paramedics to arrive as directed to do so by the 911 operator.




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              c. Defendant knew that Ewell was not disorderly and attempted to seek assistance
                  from the officers on the scene – which they refused to provide.
            41.   The detention was intentional. Defendant intended to cause the unlawful detention
  and deprive Ewell of his liberty by falsely arresting Ewell and fabricating probable cause.
  Moreover, Defendant’s actions were done with bad faith, malicious purpose, or with willful,
  wanton, and deliberate indifference in regard to Ewell’s rights, health and safety, thus merits an
  award of punitive damages against said Defendant.
  Claim 5: False Imprisonment/False Arrest against City of Fort Lauderdale (State Claim)
        42.       This action is brought pursuant to laws of Florida and alleges that City of Fort
 Lauderdale falsely arrested Ewell. Ewell was subject to an unlawful detention and deprivation of
 liberty against his will. Ewell was detained for one day in Broward County jail against his will.
        43.       The detention was unreasonable and not warranted by the circumstances. Based
 on the objective evidence known to Defendant at the time of Ewell’s arrest, Defendant knew
 there was no probable cause to arrest Ewell for any offense under Florida law, because:
              a. Defendant knew Ewell was a law-abiding patron at Capones.
              b. Defendant knew Ewell remained on a public sidewalk while waiting for
                  paramedics to arrive as directed to do so by the 911 operator.
              c. Defendant knew that Ewell was not disorderly and attempted to seek assistance
                  from the officers on the scene – which they refused to provide.
        44.       The detention was intentional. Defendant intended to cause the unlawful detention
 and deprive Ewell of his liberty by falsely arresting Ewell and fabricating probable cause.
                     Claim 6: Excessive Force against Alexander (State Law)
        45.       This action is brought pursuant to laws of Florida and alleges that Paul Alexander
 applied excessive force upon Ewell’s person. Ewell was battered by Defendant when Alexander
 attacked him without provocation. The force applied was not reasonable under circumstances.
        46.       Ewell was the subject of a harmful and offensive contact by said Defendant.
 Ewell suffered repeated blows, brief loss of consciousness, and trauma to his body as a result of
 Defendant’s contact.
        47.       Defendant intended to cause the harmful and offensive contact with Ewell’s
 person by leg sweeping and then tackling Ewell even though it was clear that Ewell was



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 nonthreatening and not resisting. Moreover, Alexander’s actions were done with bad faith,
 malicious purpose, or with willful, wanton, and deliberate indifference in regard to Ewell’s
 rights, health and safety, thus merits an award of punitive damages against said Defendant.
            48.   Defendant’s conduct caused a harmful and excessive application of force on
 Ewell’s person. No harmful or excessive force would have occurred if it were not for the leg
 sweep and the tackling Ewell to the ground until he briefly loss consciousness.
                     Claim 7: Excessive Force against City of Fort Lauderdale
            49.   This action is brought pursuant to laws of Florida and alleges that City of Fort
 Lauderdale applied excessive force upon Ewell’s person. Ewell was battered by Defendant when
 it attacked him without provocation. The force applied was not reasonable under circumstances.
            50.   Ewell was the subject of a harmful and offensive contact by said Defendants.
 Ewell suffered repeated blows, brief loss of consciousness, and trauma to his body as a result of
 Defendant’s contact.
            51.   Defendant intended to cause the harmful and offensive contact with Ewell’s
 person by leg sweeping and then tackling him to submission even though it was clear that Ewell
 was nonthreatening and not resisting.
            52.   Defendant’s conduct caused a harmful and excessive application of force on
 Ewell’s person. No harmful or excessive force would have occurred if it were not for the leg
 sweep and the tackling Ewell to the ground until he briefly loss consciousness.
            53.   Ewell did not consent to the harmful and excessive application force by said
 Defendant.
                         Claim 8: Malicious Prosecution against Alexander
            54.   This action is brought pursuant to the laws of Florida against Alexander.
            55.   A criminal proceeding in the Circuit Court of Broward County, Florida was
 commenced against Ewell. The person responsible for the initiation of the criminal proceeding
 was Alexander.
            56.   The criminal proceeding ended in a not guilty verdict in favor of Ewell.
            57.   There was an absence of probable cause for the original proceeding. At the time
 of the original proceeding, Defendant did not have probable cause to arrest or prosecute Ewell
 for any of the charges. Specifically, Alexander was not involved in the execution of a legal duty.



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 Alexander did not observe disorderly conduct, resisting an officer without violence, or trespass
 by Ewell. Ewell was peacefully on a public sidewalk waiting for paramedics.
           58.      There was malice on the part of the Defendant because when he arrested Ewell,
 Alexander knew there was not a scintilla of probable cause to support the arrest and the
 continued prosecution. Alexander fabricated probable cause. Alexander was the driving force of
 the criminal proceeding against Ewell as there was no other basis for the prosecution of the
 matter.
           59.      Ewell suffered damages as a result of the criminal proceeding. These damages
 include but not limited to emotional, physical, and financial injury. Ewell suffered humiliation
 and embarrassment as result of this incident. Additionally, Ewell incurred unnecessary legal
 costs as a result of the defense of this matter.
                                                 PRAYER
           Wherefore, Anthony Ewell, demands the following relief against Defendants:
                 a. Compensatory general and special damages in an amount in accordance with
                    proof;
                 b. Consequential damages;
                 c. Exemplary damages, against Defendant, for intentional acts described above or
                    for those done negligently or recklessly or with deliberate indifference, in an
                    amount sufficient to deter the conduct of said defendant;
                 d. Reasonable attorneys’ fees and expenses of litigation, including those fees
                    permitted by 42 U.S.C. § 1988;
                 e. Prejudgment and post-judgment interests where permitted by law,
                 f. Punitive damages;
                 g. Nominal damages;
                 h. Costs of suit and interest accrued incurred herein; and
                 i. Other forms equitable and/or legal relief the Court deems just or proper.
                                                          Respectfully submitted by,

                                                          Attorneys for Plaintiff
                                                          600 Southwest 4th Avenue,
                                                          Fort Lauderdale, Florida 33315



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